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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            Case No. 8:05CR106
                                             )
                     Plaintiff,              )
                                             )
      v.                                     )                   ORDER
                                             )
MIGUEL RAMIREZ-GARCIA,                       )
                                             )
                     Defendant.              )


      IT IS ORDERED that a change of plea for the defendant is scheduled before the
undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
18th Plaza, Omaha, Nebraska, on August 2, 2005, at 3:30 p.m. Since this is a criminal
case, the defendant shall be present, unless excused by the court. If an interpreter is
required, one must be requested by the plaintiff in writing five (5) days in advance of the
scheduled hearing.
      DATED this 22nd day of July, 2005.
                                             BY THE COURT:




                                             s/ Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
